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                                              AUSA:             Filed 05/20/21Telephone:
                                                      Nancy Abraham             Page 1 (810)
                                                                                         of 7 766-5034
AO 91 (Rev. ) Criminal Complaint             Special Agent:          Dustin Hurt                  Telephone: (810) 219-6277

                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                 Eastern District of Michigan

United States of America
   v.
COREY JOMECHEE GRAY                                                        Case: 4:21−mj−30236
                                                                           Assigned To: Unassigned
                                                                           Date: 5/20/2021
                                                                           CMP USA V GRAY (kcm)




                                                   CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of                    May 18, 2001                in the county of            Genesee      in the
       Eastern           District of        Michigan        , the defendant(s) violated:
                  Code Section                                             Offense Description
18 U.S.C. § 922(o)                                       possession of machine gun
26 U.S.C. § 5861(d)                                      possession of Unregistered firearm




         This criminal complaint is based on these facts:




✔ Continued on the attached sheet.

                                                                                           Complainant’s signature

                                                                      DUSTIN HURT, Special Agent, ATF&E
                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date: May 20, 2021                                                                            Judge’s signature

City and state: Flint, Michigan                                       CURTIS IVY, JR., U.S. Magistrate Judge
                                                                                            Printed name and title
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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                        United States v. Corey Jomechee Gray



      1.     I have been employed as a Special Agent with the Bureau of Alcohol,

Tobacco, Firearms, and Explosives (ATF) since October of 2018. I am currently

assigned to the Detroit Field Division, Flint Field Office. Before working for the

ATF, I was employed by the Michigan Department of State Police (MSP) for

approximately seven years. Before working for MSP, I was a local police officer for

the Grand Ledge Police Department for approximately three years. I held numerous

positions with the MSP, including Detective Sergeant in the Polygraph Unit and

Task Force Officer with the FBI. During my employment with ATF and MSP, I have

conducted or participated in numerous criminal investigations focused on firearms,

armed drug trafficking, and criminal street gangs, and other violations of federal law.

      2.     I make this affidavit from personal knowledge based on my

participation in this investigation, my review of reports and other materials prepared

by those who have personal knowledge of the events and circumstances described

herein, and information gained through my training and experience. The information

outlined below is provided for the limited purpose of establishing probable cause

and does not contain all details or all facts of which I am aware relating to this

investigation.

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      3.    On May 18, 2021, at approximately 6pm, a fully marked Michigan

State Police Patrol vehicle with two uniformed Michigan State Troopers conducted

a traffic stop on a 2010 silver Ford Escape bearing MI registration DFS607 (suspect

vehicle). The traffic stop occurred on Lorado Avenue near College Street in a

driveway in the city of Flint, Michigan. Troopers observed the suspect vehicle

traveling northbound on Dupont Street at a high rate of speed. Same direction

moving radar captured the suspect vehicle was travelling 30 mph in a 25 mph zone

(state civil infraction). As the troopers approached the suspect vehicle, a Law

Enforcement Information Network (LEIN) query of the Michigan Registration was

completed yielding EIV:N, indicating the suspect vehicle did not have insurance

(state misdemeanor for operating without securities). The suspect vehicle then was

observed pulling into an address located at 606 W. Lorado Avenue while failing to

signal the turn (state civil infraction). A traffic stop was then conducted in the

driveway of 606 W. Lorado Avenue.

      4.    At this time, the front passenger, later identified as Corey Jomechee

Gray, was observed exit the vehicle and make an attempt to walk away while

grabbing at his waistband. Troopers gave verbal commands and ultimately detained

Gray pending further investigation.




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      5.     Contact was then made with the driver, identified as Jaqualan Cartheen

Bond who advised he did not have a valid driver’s license (state misdemeanor). Bond

was detained pending further investigation.

      6.     Contact was then made with a rear passenger in the vehicle identified

as, Trencye Marshay Beard. Beard willingly opened her purse for Trooper Fountain

and advised she was in possession of a taser (state felony – Carrying a Concealed

Weapon). Beard was asked to get out of the vehicle and was placed in handcuffs at

this time.

      7.     Trooper Sowers conducted a search of Gray which yielded no

contraband on his person. Trooper Fountain conducted a search of Bond which

yielded no contraband on his person. Beard was searched after advising she was in

possession of a taser which yielded no contraband on her person.

      8.     Trooper Sowers approached the suspect vehicle when he observed what

is commonly referred to as a Draco 7.62 caliber pistol in plain view on the front

passenger side floorboard (where Gray was observed seated). The firearm is more

particularly described as a RMC (Romarm Corp) 7.62 caliber semi-automatic pistol

bearing S/N: DC594510. The RMC 7.62 caliber pistol was loaded with a 30-round

magazine fully seated inside the magazine with an additional round chambered in

the firearm (31 total 7.62 caliber rounds).

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      9.     A second firearm was located underneath the front passenger seat

(where Gray was observed seated) identified as a Glock, Model 17, 9 millimeter

pistol, bearing S/N: BSHC937 which contained a 33 round magazine fully seated

inside the magazine as well as an additional round in the chamber (34 total rounds)

of 9mm ammunition. The Glock, Model 17 was found to have an auto sear, often

referred to as a Glock Switch, attached to the rear of the slide of the pistol which

effectively makes the Glock 17 a machine gun (fully automatic) by definition.

      10.    A machinegun is defined by federal statute to include “any weapon

which shoots, is designed to shoot, or can be readily restored to shoot, automatically

more than one shot, without manual reloading, by a single function of the trigger.

The term shall also include … any part designed and intended solely and exclusively,

or combination of parts designed and intended, for use in converting a weapon into

a machinegun.” 26 U.S.C. § 5845(b); 18 U.S.C. § 921(a)(23).

      11.    A LEIN query was conducted on the RMC 7.62 caliber pistol yielding

it was not registered. A LEIN query was conducted on the Glock, Model 17, 9

millimeter pistol yielding the registered owner to be Jaimie Lynn Smith to an address

of XXX Shaw Street, Burton, MI 48529. The firearm was purchased from Williams

Gun Sight in Davison, MI on March 7, 2021. Glock does not manufactor or sell the

auto sear (Glock switch).

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      12.   Gray was read his Miranda Rights of which he agreed he understood

and waived agreeing to speak with the troopers. Gray advised he did not know the

RMC 7.62 caliber pistol was in the vehicle despite it being located where his feet

would have been placed in the passenger seat. Gray denied knowledge of guns being

inside the vehicle before invoking his right to have an attorney present. Bond and

Beard both were read their Miranda Rights, and both invoked their rights to have an

attorney.

      13.   On May 19, 2021, I contacted Industry Operations Investigator (IOI)

John Gurka reference Gray’s status in the National Firearms Registration and

Transfer Record (NFRTR). Gray had nil results in the NFRTR.

      14.   I have spoken with ATF Special Agent Jonathan Wickwire, who is

recognized by ATF as having expertise in the interstate travel and manufacture of

firearms. SA Wickwire advised that the Glock, Model 17, 9 millimeter pistol,

bearing S/N: BSHC937 was manufactured outside of the state of Michigan and is a

firearm as defined in Chapter 44, Title 18, United States Code.

      15.   Based on the foregoing, I have probable cause to believe that on May

18, 2021 in the Eastern District of Michigan, Corey Jomechee Gray, knowingly

possessed, in and affecting commerce, a machinegun in violation of 18 U.S.C.

§ 922(o) and 26 U.S.C. § 5861(d) – Receiving or possessing a machine gun which

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is not registered to him in the National Firearms Registration and Transfer Record.


                                      ___________________________________
                                      DUSTIN HURT, Affiant
                                      Special Agent
                                      Bureau of Alcohol, Tobacco, Firearms & Explosives


Sworn to before me and signed in my presence and/or by reliable electronic means
        May 20, 2021
on _________________________.




HON. CURTIS IVY, JR.
United States Magistrate Judge




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